     Case 2:85-cv-04544-DMG-AGR Document 1208 Filed 12/09/21 Page 1 of 4 Page ID
                                     #:45980



 1   BRIAN M. BOYNTON
     Acting Assistant Attorney General
 2
     WILLIAM C. PEACHEY
 3   Director, District Court Section
 4   Office of Immigration Litigation
     WILLIAM C. SILVIS
 5   Assistant Director, District Court Section
 6   Office of Immigration Litigation
     SARAH B. FABIAN
 7
     Senior Litigation Counsel, District Court Section
 8   Office of Immigration Litigation
 9   ERIC C. STEINHART
           Trial Attorney
10         United States Department of Justice
11         Civil Division
           Office of Immigration Litigation
12         District Court Section
13         P.O. Box 868, Ben Franklin Station
14         Washington, D.C. 20044
           E-mail: eric.c.steinhart@usdoj.gov
15         Telephone: (202) 514-0618
16            Counsel for Defendants
17
18                          UNITED STATES DISTRICT COURT
19                         CENTRAL DISTRICT OF CALIFORNIA
20    JENNY LISETTE FLORES, et al.,          Case No. CV 85-4544-DMG (AGRx)
21                  Plaintiffs,              JOINT REPORT REGARDING
22                                           OBJECTIONS BY FLORES CLASS
         v.                                  MEMBERS TO THE PROPOSED
23
                                             EAJA SETTLEMENT
24    MERRICK GARLAND, Attorney
25    General, et al.,
26
27                  Defendants.
28
                                              1
     Case 2:85-cv-04544-DMG-AGR Document 1208 Filed 12/09/21 Page 2 of 4 Page ID
                                     #:45981



 1         Pursuant to the Court’s “Order Approving the Parties’ Joint Proposal Re
 2
     Notice to Flores Class Members of Settlement,” ECF No. 1186 (the “Order”), the
 3
 4   parties submit this “joint report regarding any objections received from class
 5   members during the period for the submission of objections.” Id. at 2. On November
 6
     29, 2021, Plaintiffs’ counsel reported that it had received no objections from Flores
 7
 8   Class Members during the period for the submission of objections concerning the
 9
     parties’ proposed settlement of claims for attorneys’ fees, litigation costs, and related
10
11   expenses under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412(d). See
12   ECF No. 1207 at 3.
13
14         Consistent with Fed. R. Civ. P. 23(e)(2), the parties respectfully request that

15   the Court schedule a hearing to consider approval of the parties’ proposed settlement
16
     agreement, ECF No. 1183-1, at its earliest convenience and, if possible, by January
17
18   31, 2022.
19
           Pursuant to the Court’s Order, the parties attach as Exhibit 1 a “Proposed
20
21   Order Approving Settlement Agreement and Dismissing with Prejudice Plaintiffs’
22   Motion for Attorneys’ Fees and Costs.”
23
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     Case 2:85-cv-04544-DMG-AGR Document 1208 Filed 12/09/21 Page 3 of 4 Page ID
                                     #:45982



 1   Dated: December 9, 2021              Respectfully submitted,
 2
 3    /s/ Peter Schey (with permission)   BRIAN M. BOYNTON
      PETER SCHEY                         Acting Assistant Attorney General
 4                                        Civil Division
      Center for Human Rights &
 5    Constitutional Law
      256 South Occidental Boulevard      WILLIAM C. PEACHEY
 6                                        Director
      Los Angeles, California 90057
 7    Tel: 323-251-3223                   Office of Immigration Litigation
 8    Fax: 213-386-9484
      pschey@centerforhumanrights.org     WILLIAM C. SILVIS
 9                                        Assistant Director
10
      Attorney for Plaintiffs             SARAH B. FABIAN
11                                        Senior Litigation Counsel
12
                                          /s/ Eric C. Steinhart
13                                        ERIC C. STEINHART
14                                        Trial Attorney
15                                        U.S. Department of Justice
                                          Office of Immigration Litigation
16                                        P.O. Box 868, Ben Franklin Station
17                                        Washington, D.C. 20044
                                          Telephone: (202) 514-0618
18                                        Email: eric.c.steinhart@usdoj.gov
19
                                          Attorneys for Defendants
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     Case 2:85-cv-04544-DMG-AGR Document 1208 Filed 12/09/21 Page 4 of 4 Page ID
                                     #:45983



 1                           CERTIFICATE OF SERVICE
 2                       CASE NO. CV 85-4544-DMG (AGRx)
 3
 4   I certify that on December 9, 2021, I served a copy of the foregoing pleading on
 5   all counsel of record by means of the District Court’s CM/ECF electronic filing
 6   system.
 7                                        Eric C. Steinhart
                                          ERIC C. STEINHART
 8                                        Trial Attorney
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